Case 1:97-cr-00043-DHB-BKE Document 269 Filed 03/06/06 Page 1 of 1
                                 ORIGINAL
                                                                            FILED
                                                                    U .S . c,IS T RIOT COUR T
                   IN THE UNITED STATES DISTRICT COURT AUGUSTA MY-

                 FOR THE SOUTHERN DISTRICT OF GEO - - AR -$•                           9:37
                                 AUGUSTA DIVISION                  CLER K
                                                                      SQ . DIST. CIF GA .
 JAMES NATHANIEL DIXON,                     )

               Movant,                      )

       V.                     )                     CV 105-20 8
                                                    (CR 197-43 )
UNITED STATES OF AMERICA,                   )

               Respondent .                 )


                                      ORDE R


       After a careful, de novo review of the file, the Court concurs with the Magistrate

Judge's Report and Recommendation, to which objections have been filed . Accordingly, the

Report and Recommendation of the Magistrate Judge is ADOPTED as the opinion of the

Court . The Title 28, United States Code, Section 2255 motion is DENIED, and this civi l

action is CLOSED.
                              7" ,
       SO ORDERED this day of March, 2006, at Augusta, Georgia .




                                     UNITED STATE'S DISTRICT JUDGE
